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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                            GREENBELT DIVISION


CASA, INC., et al.,

                   Plaintiffs,
v.                                                    Case No. 8:25-cv-00201-DLB

DONALD J. TRUMP, et al.,                              Honorable Deborah L. Boardman

                   Defendants.



UNOPPOSED MOTION FOR LEAVE TO FILE AN AMICUS CURIAE BRIEF BY
           THE IMMIGRATION REFORM LAW INSTITUTE
       IN SUPPORT OF DEFENDANTS AND IN OPPOSITION TO
          PLAINTIFFS’ MOTION FOR INJUNCTIVE RELIEF

       In accordance with Fed. R. Civ. P. 7, amicus Immigration Reform Law Institute

(“IRLI”) respectfully seeks this Court’s leave to file the accompanying amicus curiae

brief in support of Defendants and in opposition to Plaintiffs’ pending motions for

injunctive relief. Counsel for amicus IRLI has conferred with counsel for all parties, and

no party opposes the request for leave. In furtherance of this motion, amicus IRLI states

as follows:

       1.     IRLI is a nonprofit 501(c)(3) public interest law firm dedicated both to

litigating immigration-related cases in the interests of United States citizens and to

assisting courts in understanding federal immigration law. IRLI has litigated or filed

amicus curiae briefs in a wide variety of immigration-related cases. For more than twenty

years the Board of Immigration Appeals has solicited supplementary briefing, drafted by


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IRLI staff, from the Federation for American Immigration Reform, of which IRLI is a

supporting organization.

       2.     “‘The extent, if any, to which an amicus curiae should be permitted to

participate in a pending action is solely within the broad discretion of the district court.’”

Sierra Club v. Fed. Emergency Mgmt. Agency, 2007 U.S. Dist. LEXIS 84230, at *2 (S.D.

Tex. Nov. 14, 2007) (quoting Waste Mgmt. of Pa., Inc. v. City of York, 162 F.R.D. 34, 36

(M.D. Pa. 1995)). Unlike the corresponding appellate rules, the federal and local rules

applicable here do not specifically address amicus briefs. Nonetheless, the appellate

rules’ criteria for granting leave to file amicus briefs can be looked to to support IRLI’s

motion. The Advisory Committee Note to the 1998 amendments to Rule 29 explains that

“[t]he amended rule … requires that the motion state the relevance of the matters asserted

to the disposition of the case” as “ordinarily the most compelling reason for granting

leave to file.” FED. R. APP. P. 29, Advisory Committee Notes, 1998 Amendment. As

now-Justice Samuel Alito wrote while serving on the U.S. Court of Appeals for the Third

Circuit, “I think that our court would be well advised to grant motions for leave to file

amicus briefs unless it is obvious that the proposed briefs do not meet Rule 29’s criteria

as broadly interpreted. I believe that this is consistent with the predominant practice in

the courts of appeals.” Neonatology Assocs., P.A. v. Comm’r, 293 F.3d 128, 133 (3d Cir.

2002) (citing Michael E. Tigar and Jane B. Tigar, FEDERAL APPEALS—JURISDICTION

AND PRACTICE 181 (3d ed. 1999) and Robert L. Stern, APPELLATE PRACTICE IN THE

UNITED STATES 306, 307-08 (2d ed. 1989)). Now-Justice Alito quoted the Tigar treatise

favorably for the statement that “[e]ven when the other side refuses to consent to an

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amicus filing, most courts of appeals freely grant leave to file, provided the brief is timely

and well-reasoned.” 293 F.3d at 133.

       3.     IRLI’s proffered brief will bring the following relevant matters to the

Court’s attention:

       •    Under Supreme Court precedent, birthright citizenship depends on birth in the

            United States to a United States resident who, at that time, both had

            permission to be in the United States and who owed direct and immediate

            allegiance to the United States.

       •    The Executive Order is consistent with Supreme Court precedent and the

            Citizenship Clause of the Fourteenth Amendment at least insofar as it applies

            to children born in the United States whose parents are either illegal aliens or

            temporary visitors, and Plaintiffs’ facial challenge must therefore fail.

       •    Granting injunctive relief is contrary to the public interest in that it would

            reward and incentivize illegal immigration and birth tourism.

5.     Because these issues are relevant to this Court’s decision on Plaintiffs’ motions for

injunctive relief, IRLI’s brief may aid the Court.

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      For the foregoing reasons, IRLI respectfully requests that the Court grant its

motion for leave to file the accompanying brief as amicus curiae.

Dated: January 31, 2025                  Respectfully submitted,

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                          CERTIFICATION OF SERVICE

      I hereby certify that on January 31, 2025, the foregoing was served on all counsel

of record via the Court’s ECF system.

                                        s/ Dan Stein
                                        DANIEL A. STEIN




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